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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


UNITED STATES OF AMERICA                        §
                                                §
v.                                              §     CRIMINAL NO. 6:14-CR-130-ADA
                                                §
DANIEL LOPEZ                                    §
                                                §


                         REPORT AND RECOMMENDATION
                    OF THE UNITED STATES MAGISTRATE JUDGE

TO:    THE HONORABLE ALAN D ALBRIGHT,
       UNITED STATES DISTRICT JUDGE

       The undersigned submits this Report and Recommendation to the district judge pursuant

to 28 U.S.C. § 636(b) and Rule 1 of Appendix C of the Local Court Rules of the United States

District Court for the Western District of Texas, Local Rules for the Assignment of Duties to

United States Magistrate Judges. Before the Court is the petition of the United States Probation

Office recommending the revocation of the Defendant’s term of supervision. The district judge

referred the matter to the undersigned for the preparation of a report and recommendation.

                             I. PROCEDURAL BACKGROUND

       The Defendant was convicted Possession of Visual Depictions of Sexual Activities by

Minors, in violation of Title 18 U.S.C. §§§ 2252A(a)(5)(B), 2252A(b)(2), & 2256(8)(A). The

Defendant was sentenced to seventy-eight (78) months imprisonment, followed by five (5) years

of supervised release; all special sex offender conditions ordered; $100.00 special assessment;

and a $500.00 fine. Defendant was released to supervision on May 15, 2020.

       On December 23, 2024, the United States Probation Office filed a Petition for Warrant or

Summons for Offender Under Supervision, alleging the Defendant violated the terms of his
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supervision and seeking a show-cause hearing as to why the Defendant’s supervision should not

be revoked. The petition alleges the Defendant violated the terms of his supervision in the

following instance:

       Violation Number 1: The defendant violated his special condition, in that on or
       about November 17, 2024, he failed to follow lifestyle restrictions as imposed by
       the sex offender treatment therapist

       Violation Number 2: The defendant violated his special condition, in that on or
       about November 17, 2024, he associated with a child or children without under
       the age of 18 without being in the presence and supervision of an adult
       specifically designed in writing by the probation officer.

       Violation Number 3: The defendant violated standard condition number 3, in
       that on or about September 16 and D 18, 2024, he failed to answer truthfully all
       inquiries by the probation officer.

       Violation Number 4: The defendant violated standard condition number 5, in
       that on or about December 23, 2024, he failed to work regularly at a lawful
       occupation.


       On March 18, 2025, the Court held a hearing on the petition. At that hearing, Defendant

plead TRUE as to violation numbers 1, 2, 3, and 4. The petition contained a sufficient factual

basis to support a plea of TRUE as to all violations.

                                II. FINDINGS OF THE COURT

       Based on the sworn statements of Defendant and other testimony at the hearing, the

undersigned finds as follows:

1.     The Defendant violated the conditions of his supervision as alleged in the petition.

2.     The Defendant was competent to make the decision to enter a plea of TRUE to the

       allegations underlying violations 1 through 4.

3.     The Defendant had both a factual and rational understanding of the proceedings against

       him.

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4.    The Defendant did not suffer from any physical or mental impairment that would affect

      his ability to fully understand the charges against him or the consequences of his plea.

5.    The Defendant was not under the influence of any drugs, alcohol, or medication that

      would affect his judgment in entering a plea or that would affect his understanding of the

      basis, consequences, or effect of his plea.

6.    The Defendant was sane and mentally competent to stand trial for these proceedings.

7.    The Defendant was sane and mentally competent to assist his attorney in the preparation

      and conduct of his defense.

8.    The Defendant received a copy of the petition naming him, and he either read it or had it

      read to him.

9.    The Defendant understood the petition and the charges alleged against him.

10.   The Defendant had a sufficient opportunity to discuss the petition and charges with his

      attorney.

11.   The Defendant was satisfied with the job his attorney has done and had no complaints

      about his attorney.

12.   The Defendant understood that he had the right to plead NOT TRUE and proceed with a

      hearing at which he could present evidence and cross-examine witnesses.

13.   The Defendant freely, intelligently, and voluntarily entered his plea of TRUE to the

      allegations in violations 1 through 4.

14.   The Defendant understood his statutory and constitutional rights and desired to waive

      them.

15.   The petition contains a sufficient factual basis to support the Defendant’s pleas of TRUE

      to violation numbers 1 through 4.

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                                 III. RECOMMENDATION

       The undersigned has carefully considered all the arguments and evidence presented by

the parties and RECOMMENDS that the Defendant’s term of supervised release be revoked and

that he be sentenced to three (3) months imprisonment with credit for time served. The Court

further RECOMMENDS that upon Defendant’s release from custody, he be placed on a new

term of supervised release, until May 15, 2025. It is RECOMMENED that this term of

supervised release contain all of the conditions as imposed in Defendant’s original term of

supervised release, as well as the following requirement:

       The defendant shall participate in the Location Monitoring Program for the term of
       supervised release, which will include remote location monitoring using Active Global
       Positioning Satellite (GPS) tracking. The defendant shall abide by the rules and
       regulations of the Participant Agreement Form. During this time, the defendant shall
       remain at the place of residence except for employment and other activities approved in
       advance by your probation officer. At the instruction of the probation officer, the
       defendant shall wear a transmitter and be required to carry a tracking device. The
       defendant shall pay for the costs of the program if financially able.

                                       IV. WARNINGS

       The parties may file objections to this Report and Recommendation. A party filing

objections must specifically identify those findings or recommendations to which objections are

being made. The district court need not consider frivolous, conclusive, or general objections. See

Battles v. United States Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987).

       A party’s failure to file written objections to the proposed findings and recommendations

contained in this Report within fourteen (14) days after the party is served with a copy of the

Report shall bar that party from de novo review by the district judge of the proposed findings and

recommendations in the Report and, except upon grounds of plain error, shall bar the party from

appellate review of unobjected-to proposed factual findings and legal conclusions accepted by


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the district judge. See 28 U.S.C. 636(b)(1)(C); Thomas v. Arn, 474 U.S. 140, 150-53 (1985);

Douglass v. United Services Automobile Association, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en

banc).

         SIGNED this 18th day of March, 2025.




                                           DEREK T. GILLILAND
                                           UNITED STATES MAGISTRATE JUDGE




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